                          UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             Civil Action No. 3:21-CV-00263



 JASMINE GREENE,                                 )
                                                 )
 Plaintiff,                                      )
                                                 )
 v.                                              )
                                                 )                     ANSWER
 CHARLOTTE-MECKLENBURG                           )
 BOARD OF EDUCATION                              )
                                                 )
 Defendant.                                      )
 ________________________________                )



           Defendant, Charlotte-Mecklenburg Board of Education (“Defendant”, “Board” or

“CMS”), through its undersigned counsel, hereby answers Plaintiff’s Complaint as follows:

                                          FIRST DEFENSE
                                  (Rule 12(b)(6) Motion to Dismiss)

           Plaintiff’s Complaint should be dismissed pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure on the ground that it fails to state a claim upon which relief can be granted. As

permitted by L.R. 7.1(c)(1), Defendant reserves the right to file a separate Motion to Dismiss and

supporting brief.

           Defendant hereby responds to the numbered allegations in Plaintiff’s Complaint as follows:

                                    NATURE OF COMPLAINT
      1.      The allegations contained in Paragraph 1 of Plaintiff’s Complaint state legal

              conclusions to which no response is necessary. To the extent a response is deemed

              necessary, Defendant denies violating the American with Disabilities Act as amended


           Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 1 of 8
        by the American with Disabilities Act Amendments Act of 2008 or engaging in any

        other unlawful conduct as alleged by Plaintiff in the Complaint.

                      PARTIES, JURISDICTION AND VENUE

2.      Defendant lacks sufficient knowledge or information to form a belief as to the truth of

        the allegations in paragraph 2 and deny the same.

3.      It is admitted that Defendant is a Public School System operating in Mecklenburg

        County, North Carolina and may be served with process through its Superintendent,

        Earnest Winston. The remaining allegations are denied.

4.      Paragraph 4 is admitted.

5.      Paragraph 5 is admitted.

                                          ALLEGATIONS

6.      It is admitted that Plaintiff was employed under a one-year contract by Defendant in or

        about September 2018.

7.      Defendant admits that Plaintiff worked as a teacher and reported to Principal Malacy

        Williams. The remaining allegations are denied.

8.      Defendant lacks sufficient knowledge or information to form a belief as to the truth of

        the allegations regarding Plaintiff’s qualification as a teacher based on training and

        experience, and therefore denies the same.

9.      Defendant admits that in October of 2018, CMS was made aware that Plaintiff suffered

        from anxiety, posttraumatic stress disorder (PTSD) and major depressive disorder.

        Defendant lacks sufficient knowledge or information to form a belief as to the truth of

        the remaining allegations in paragraph 9, and therefore denies the same.




     Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 2 of 8
10.      Defendant admits that in October of 2018, they were made aware that Plaintiff suffered

         from anxiety, PTSD, and major depressive disorder.         Defendant lacks sufficient

         knowledge or information to form a belief as to the truth of the remaining allegations

         in paragraph 10, and therefore denies the same.

11.      Paragraph 11 is denied.

12.      Defendant admits that Plaintiff made requests for leave to attend medical appointments

         and CMS accommodated Plaintiff’s requests. The remaining allegations in paragraph

         12 are denied.

13.      Defendant admits that CMS authorized non-FMLA medical leave from January 9,

         2019, through February 5, 2019. The remaining allegations in paragraph 13 are denied.

14.      Paragraph 14 is admitted.

15.      Paragraph 15 is denied.

16.      Paragraph 16 is denied.

17.      Defendant admits that Plaintiff received notice from Superintendent Clayton Wilcox

         on May 20, 2019, that he was recommending her one-year contract not be renewed.

         The remaining allegations are denied.

18.      Paragraph 18 is admitted.

19.      Defendant lacks sufficient knowledge or information to form a belief as to the truth of

         the allegations contained in paragraph 19, and therefore denies the same.

20.      Paragraph 20 is admitted.

21.      Paragraph 21 is admitted.

22.      Paragraph 22 is admitted.

23.      Paragraph 23 is admitted.




      Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 3 of 8
24.      Defendant lacks sufficient knowledge or information upon which to form a belief as to

         the truthfulness of the allegation that this action is being commenced within ninety (90)

         days of the receipt of the Right to Sue Letter from the Justice Department, as Plaintiff

         has alleged no facts regarding Plaintiff’s actual receipt of the letter, and therefore denies

         the same.

                                      FIRST CLAIM FOR RELIEF

25.      Defendant re-alleges the responses previously set forth in the Answer and incorporates

         them by reference as if fully set forth herein.

26.      Defendant admits that Plaintiff had a disability. The remaining allegations in paragraph

         26 are denied.

27.      Paragraph 27 is denied.

28.      Paragraph 28 is denied.

29.      Paragraph 29 is denied.

30.      Paragraph 30 is denied.

31.      Defendant admits that Plaintiff has filed a lawsuit alleging violation of the Americans

         with Disabilities Act and the Americans with Disabilities Act Amendments Act of

         2008. The remaining allegations of paragraph 31 are denied.

                                    SECOND CLAIM FOR RELIEF

32.      Defendant re-alleges the responses previously set forth in the Answer and incorporates

         them by reference as if fully set forth herein.

33.      Defendant lacks sufficient knowledge or information to form a belief as to the truth of

         the allegations contained in paragraph 33 and therefore, denies the same.

34.      Paragraph 34 is admitted.




      Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 4 of 8
    35.      Paragraph 35 is denied.

    36.      Paragraph 36 is denied.

    37.      Defendant admits that Plaintiff has filed a lawsuit alleging violation of the Americans

             with Disabilities Act and the Americans with Disabilities Act Amendments Act of

             2008. The remaining allegations of Paragraph 37 are denied.

                                       PRAYER FOR RELIEF

          The remainder of the Complaint constitutes Plaintiff’s requests for relief to which no

response is necessary. To the extent a response is required, Defendant denies that Plaintiff is

entitled to the relief sought or to any relief.

                                        SECOND DEFENSE

          Defendant pleads all immunities to which they are entitled under the law, including but not

limited to governmental immunity.

                                          THIRD DEFENSE

          Plaintiff’s claims are barred to the extent they involve transactions or events which are

outside the applicable statute(s) of limitations or to the extent a civil action was not filed within

ninety (90) days after receiving a right to sue notice from the EEOC.

                                        FOURTH DEFENSE

          To the extent Plaintiff makes allegations in the Complaint that were not raised in the

Charges she filed with the EEOC, such allegations exceed the scope of her Charges and are barred

for failure to exhaust administrative remedies.

                                          FIFTH DEFENSE




          Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 5 of 8
       Any and all actions taken by Defendant with regard to Plaintiff were based solely on

legitimate, business-related, non-discriminatory, non-pretextual reasons, were not contrary to

public policy or unlawful and were otherwise justified by business necessity.

                                       SIXTH DEFENSE

       Defendant denies that any act or omission on its part is the proximate cause of the injuries

and damages alleged by Plaintiff.

                                     SEVENTH DEFENSE

       Defendant avers that any back-pay amounts allegedly owed to Plaintiff must be offset by

Plaintiff’s interim earnings and/or amounts earnable by Plaintiff with reasonable diligence.

                                      EIGHTH DEFENSE

       Plaintiff’s claims are barred because any recovery from Defendant would result in

Plaintiff’s unjust enrichment.

                                       NINTH DEFENSE

       Any psychological problems or mental/emotional distress Plaintiff claims to suffer are the

result of other causes unrelated to Defendant.

                                      TENTH DEFENSE

       Plaintiff’s claims may be barred, in whole or in part, by the equitable doctrines of waiver,

estoppel, laches, and/or unclean hands.

                                    ELEVENTH DEFENSE

       Defendant denies that it has engaged in intentional discrimination against Plaintiff.

                                     TWELFTH DEFENSE

       Plaintiff has failed to allege an adverse employment action.

                                    THIRTEENTH DEFENSE




       Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 6 of 8
        Defendant reserves the right to amend the Answer and assert any additional affirmative

defenses as it may become available or apparent throughout this litigation.

WHEREFORE, the Defendant prays the Court as follows:

   A.      That Plaintiff have and recover nothing of Defendant in this action;

   B.      That the Court dismiss this action in its entirety with prejudice;

   C.      That the Court award Defendant costs, attorneys’ fees, and all other fees incurred in the

           defense of this action as provided by applicable law; and

   D.      For such other relief as the Court deems just and proper.



This the 3rd day of August 2021.

                                              /s Mindy B. Sanchez
                                              Mindy B. Sanchez
                                              Attorney for Defendant
                                              N.C. Bar No. 43444
                                              Senior Associate General Counsel
                                              Charlotte-Mecklenburg Board of Education
                                              600 E. Fourth Street, 5th Floor
                                              Charlotte, North Carolina 28202
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        Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 7 of 8
                                CERTIFICATE OF SERVICE

This is to certify that on this date I electronically filed the foregoing ANSWER with the Clerk of
Court using the CM/ECF systems, which will automatically serve the following CM/ECF
participant(s):

                                       Kirk J. Angel, Esq.
                                      The Angel Law Firm
                                   1036 Branchview Drive NE
                                      Concord, NC 28025
                                       kirk@mailalf.com
                                      Attorney for Plaintiff


This the 3rd day of August 2021.

                                                     /s Mindy B. Sanchez
                                                    Mindy B. Sanchez
                                                    Attorney for Defendant
                                                    N.C. Bar No. 43444
                                                    Senior Associate General Counsel
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       Case 3:21-cv-00263-FDW-DCK Document 4 Filed 08/03/21 Page 8 of 8
